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       5   Special Master I Independent Monitor
       6

       7
                               UNITED STATES DISTRICT COURT
       8
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
       9

      10
                                                   CASE NO. CV 85-4544-DMG (AGRx)
      11   JENNY LISETTE FLORES, et al.,
      12                                           NOTICE TO THE COURT RE:
                              Plaintiffs,          PROPOSED EXTENSION OF TIME
      13                                           AND MODIFICATION
      14              V.

      15   WILLIAM P. BARR, Attorney
      16   General of the United States, et al.,
      17
                       Defendants.
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                                                                            NOTICE TO THE COURT RE:
                                                        PROPOSED EXTENSION OF TIME AND MODIFICATION
    Case 2:85-cv-04544-DMG-AGR Document 542 Filed 05/24/19 Page 2 of 3 Page ID #:26464




           1             Based upon conflicts in the schedule of the Special Master/Independent
           2     Monitor ("Monitor"), the Monitor requests the following modifications and
           3     extensions of time for the filing of the Second Report and Recommendation and
.          4     Third Report and Recommendation. The Monitor will request a modified date for
           5     the Fourth Report and Recommendation at a later time.
           6     Modification to the Timing of Reports
           7             Second Report and Recommendation:         Thursday, June 20, 2019
           8             Third Report and Recommendation:          Friday, August 30, 2019
           9
          10             No further modifications are requested.
          11
          12             The Monitor has informed counsel for Plaintiffs and Defendants of this
          13     Notice to the Court Re Proposed Extension of Time and Modification and the
          14     Monitor has received no objections.
          15
          16
          17     DATED: May 24, 2019                   Respectfully submitted,
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                                                       Andrea Sheridan Ordin
          19                                           STRUMWASSER & WOOCHER LLP
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          22                                                 Andrea Sheridan Ordin
          23 ·
                                                       Special Master I Independent Monitor
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                                                                                  NOTICE TO THE COURT RE:
                                                              PROPOSED EXTENSION OF TIME AND MODIFICATION
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       1                                 CERTIFICATE OF SERVICE
       2                              Case No. CV 85-4544-DMG (AGRx)
       3
                  I am a citizen of the United States. My business address is 10940 Wilshire
       4
           Boulevard, Suite 2000, Los Angeles, California 90024. I am over the age of 18 years, and
       5
           not a party to the within action.
       6

       7          I hereby certify that on May 24, 2019, I electronically filed the following documents
       8   with the Clerk of the Court for the United States District Court, Eastern District of
       9   California by using the CM/ECF system:
      10
           NOTICE TO THE COURT RE: PROPOSED EXTENSION OF TIME AND
      11   MODIFICATION.
      12
                  I certify that all participants in the case are registered CM/ECF users and that service
      13
           will be accomplished by the CM/ECF system.
      14

      15          I declare under penalty of perjury under the laws of the United States the foregoing
      16   is true and correct. Executed on May 24, 2019, at Los Angeles, California.
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                                               CERTIFICATE OF SERVICE
